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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ILLINOIS
RUBEN KREHER,                                        )
                                                     )
        Plaintiff,                                   )      Case No. 3:20cv126
                                                     )
                v.                                   )
                                                     )
POLARIS INDUSTRIES, INC., and                        )
SYDENSTRICKER IMPLEMENTS CO.                         )
d/b/a SYDENSTRICKER NOBBE PARTNERS                   )
                                                     )
        Defendants.                                  )

        JOINT MOTION TO MODIFY SCHEDULING AND DISCOVERY ORDER

        Pursuant to Rules 6(b)(1) and 16(b)(4) of the Federal Rules of Civil Procedure, Plaintiff

Ruben Kreher and Defendants Polaris Industries Inc. and Sydenstricker Implements Co. d//b/a

Sydenstricker Nobbe Partners (collectively the “Parties”) move to extend all remaining case

deadlines in the initial Scheduling and Discovery Order, including the trial date, by approximately

ninety (90) days. A joint proposed scheduling and discovery order is attached as Exhibit A.

        On October 20, 2020, the Court entered an Order Adopting Joint Report and Proposed

Scheduling and Discovery Order [Doc. 59] setting forth a schedule for discovery and setting trial

in this case. The Parties seek an amended case schedule to account for the obstacles to the case

schedule posed by the COVID-19 pandemic and the recent Third Amended Complaint filed by

Plaintiff.

        According to the schedule, Plaintiff’s and Defendants’ depositions are to be taken by May

1, 2021. To date, the parties have exchanged written discovery, documents, authorizations for

records, and have conducted at one vehicle inspection, however, Defendants are still in the process

of collecting all necessary documents from Plaintiff’s medical providers and former employer in



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order to schedule Plaintiff’s deposition. Notably, the ongoing pandemic has slowed the parties’

ability to complete discovery and obtain necessary documents and information from third parties.

       Additionally, Plaintiff recently filed a Third Amended Complaint that added two new

product liability theories which require further discovery and analysis by the defendants, and

which will likely require a second inspection of the subject vehicle and retention of additional

experts. The parties believe that an additional ninety days should be sufficient to complete the

remaining fact discovery and to allow defendants the necessary time to work up the new product

liability claims that plaintiff added in February 2021. The parties have met and conferred and

agreed to this proposed extension.

       In light of the above factors, the Parties jointly seek this extension of the remaining case

deadlines, including the trial date, in order to take into account the time needed to complete

depositions and expert discovery, and the time requirements imposed in this Court’s Uniform Trial

Practice and Procedures.

       WHEREFORE, Plaintiff Ruben Kreher and Defendants Polaris Industries Inc. and

Sydenstricker Implements Co. d//b/a Sydenstricker Nobbe Partners respectfully requests the Court

grant this Joint Motion and modify the October 20, 2020 Order Adopting Joint Report and

Proposed Scheduling and Discovery Order in accordance with the dates provided in Exhibit A.



Dated: March 25, 2021                        Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 25, 2021, a copy of the foregoing JOINT MOTION TO

MODIFY SCHEDULING ORDER was filed electronically. Notice of this filing will be sent by

operation of the Court’s electronic filing system to all parties indicated on the electronic filing

receipt. Parties may access this filing through the Court’s system.




                                                     /s/ Scott A. McMillin
                                                     Scott A. McMillin




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